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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 OLUSERE OLOWOYEYE
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
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 6 Attorneys for Plaintiff
   United States of America
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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                            CASE NO. 2:13-CR-0326 MCE
12                                 Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                          TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                           v.                           FINDINGS AND ORDER
14   ROBERT ANTHONY GUERENA, and                          DATE: December 12, 2013
     ROBERT VARGAS,                                       TIME: 9:00 a.m.
15                                                        COURT: Hon. Morrison C. England, Jr.
                                   Defendants.
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17
                                                  STIPULATION
18
            1.       By previous order, this matter was set for status on December 12, 2013.
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            2.       By this stipulation, defendants now move to continue the status conference until February
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     27, 2014, and to exclude time between December 12, 2013, and February 27, 2014, under Local Code
21
     T4.
22
            3.       The parties agree and stipulate, and request that the Court find the following:
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                     a)     The government has represented that the discovery associated with this case
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            includes investigative reports, recorded telephone conversations, and CD totaling 132
25
            batestamped pages. All of this discovery has been either produced directly to counsel and/or
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            made available for inspection and copying.
27
                     b)     Counsel for defendants desire additional time consult with their clients, review the
28
            evidence, and discuss potential resolutions short of jury trial.
      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      1
      ORDER
                    Case 2:13-cr-00326-MCE Document 16 Filed 12/18/13 Page 2 of 3


 1                      c)     Counsel for defendants believe that failure to grant the above-requested

 2             continuance would deny counsel the reasonable time necessary for effective preparation, taking

 3             into account the exercise of due diligence.

 4                      d)     The government does not object to the continuance.

 5                      e)     Based on the above-stated findings, the ends of justice served by continuing the

 6             case as requested outweigh the interest of the public and the defendant in a trial within the

 7             original date prescribed by the Speedy Trial Act.

 8                      f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

 9             et seq., within which trial must commence, the time period of December 12, 2013 to February

10             27, 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

11             Code T4] because it results from a continuance granted by the Court at defendants’ request on

12             the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

13             best interest of the public and the defendant in a speedy trial.

14             4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

15 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
16 must commence.
17             IT IS SO STIPULATED.

18
     Dated: December 5, 2013                                      BENJAMIN B. WAGNER
19                                                                United States Attorney
20
                                                                  /s/ OLUSERE OLOWOYEYE
21                                                                OLUSERE OLOWOYEYE
                                                                  Assistant United States Attorney
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23
     Dated: December 5, 2013                                      /s/ SHARI RUSK by email confirmation
24                                                                SHARI RUSK
25                                                                Counsel for Defendant
                                                                  ROBERT GUERENA
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          STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND      2
          ORDER
              Case 2:13-cr-00326-MCE Document 16 Filed 12/18/13 Page 3 of 3

     Dated: December 5, 2013                                 /s/ DAN KOUKOL by email confirmation
 1                                                           DAN KOUKOL
                                                             Counsel for Defendant
 2
                                                             ROBERT VARGAS
 3
 4
 5
                                                       ORDER
 6
           IT IS SO ORDERED.
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     Dated: December 12, 2013
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      STIPULATION RE: SPEEDY TRIAL ACT; FINDINGS AND     3
      ORDER
